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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA
                              MIAMI DIVISION


   Ontel Products Corporation
                                                 Case No. 1:24-cv-20609-PCH
                Plaintiff,

         v.                                      JURY TRIAL DEMANDED

   EHT LLC

             Defendant.
   _____________________________/

        MOTION TO EXTEND TIME TO FILE REPOSIVE PLEADING

        Defendant EHT LLC moves to extend the time for it to file a responsive

  pleading to the Complaint by 30 days. Counsel for EHT LLC accepted service of the

  Complaint on May 16, 2024. The current deadline for EHT LLC’s responsive

  pleading is June 6, 2024. With the extension, the new deadline will be July 8, 2024.

                    LOCAL RULE 7.1(A)(3) CERTIFICATION

        Pursuant to Local Rule 7.1(A)(3), Counsel for EHT LLC certifies it contacted

  counsel for Plaintiff Ontel Products Corporation on June 6, 2024 by phone and email

  in an effort to resolve the issues raised in this motion, but received no response as of

  the time of filing this motion.




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  Dated: June 6, 2024
                                            By: /s/ Ryan Clancy
                                            Florida Bar No. 117650

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                                            Attorneys for Defendant

                           CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing was

  electronically filed this 18th day of April 2020, and served on all parties of record

  via the CM/ECF filing system.

                                               By: s/ Ryan Clancy
                                               Ryan Clancy, Esq.


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